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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

VERONICA Y. GUDGER
Plaintiff

vs. Civil Action: 14-576 (RMC)

DISTRICT OF COLUMBIA, et al
Defendant

JUDGMENT ON THE VERDICT
FOR DEFENDANT

This cause having been tried by the Court and a Jury, before the Honorable Rosemary M.
Collyer, Judge presiding, and the issues having been duly tried and the jury having rendered its
verdict; now therefore, pursuant to the verdict,

IT IS ORDERED, ADJUDGED, AND DECREED that the plaintiff VERONICA Y.
GUDGER take nothing on the complaint against the defendant s DISTRICT OF COLUMBIA
and MICHAEL MILLSAPS.

ANGELA D. CEASAR, Clerk

Dated: 1/14/2016

 

 

l' Deputy Clerk

